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                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT

VIKY SARAI FLORES BENITEZ,                            :
ANA DELMI BENITEZ ALVARADO,
JAVIN BENIGNO SANTOS GALVEZ,                          :       Civ. No. 3:22CV884(JCH)
and J.S.R., a minor,
                                                      :
                        Plaintiffs,
                                                      :

        v.                                            :

STEPHEN MILLER,                                       :
JEFFERSON B. SESSIONS,
KIRSTJEN NIELSEN,                                     :
KEVIN McALEENAN, and
UNITED STATES OF AMERICA,                             :

                                                      :
                        Defendants.                           OCTOBER 28, 2022


                                  NOTICE OF SUBSTITUTION

        Please take notice that under 28 U.S.C. § 2679(b) (the “Westfall Act”), the United

States of America is substituted for Defendants Stephen Miller, Jefferson B. Sessions, Kristjen

Nielsen, and Kevin McAleenan, (“Individual Defendants”) in this civil action. The grounds

for this substitution are as follows:

         1.       In Claim 1 of the Complaint, Plaintiffs allege that the Individual Defendants

 violated the law of nations or a treaty of the United States while employed by the United

 States and that Plaintiffs were damaged by the Individual Defendants’ actions. See Compl. ¶¶

 200-214.

         2.       Claim 1 alleges that the Individual Defendants’ issuance and implementation

 of certain prosecutorial and immigration policies constituted torture and inhumane treatment

 under customary international law. Id.
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       3.      The Federal Tort Claims Act, 28 U.S.C. §§ 1346(b); 2671-2680 (the “FTCA”),

as amended by the Westfall Act, provides that where an individual claims that federal

employees damaged him or her through their negligent or wrongful acts or omissions taken

within the scope of their office or employment, a suit against the United States shall be the

exclusive remedy for that individual’s claim. 28 U.S.C. § 2679(b)(1). There are two

exceptions to this exclusivity provision. 28 U.S.C. § 2679(b)(2). Neither exception applies to

claims for violations of customary international law. Therefore, Plaintiffs’ claim for such a

violation falls within the exclusive remedy provision.

       4.      Under the Westfall Act, where the Attorney General of the United States

certifies that a federal employee was acting within the scope of his or her office or

employment at the time of the incident giving rise to the claim against the employee, that

claim shall be deemed an action against the United States, and the United States shall be

substituted as sole defendant for that claim. 28 U.S.C. §§ 2679(d)(1)-(2). The United States

Attorney’s authority under 28 C.F.R. § 15.4 to make scope of employment certifications

under 28 U.S.C. ' 2679(d)(1) has, in turn, been delegated to the Chief of the Civil Division.

       5.      Michelle L. McConaghy, Chief, Civil Division, United States Attorney’s

Office for the District of Connecticut, certified that at the time of the conduct alleged in

Plaintiff’s complaint, each Individual Defendant was acting within the scope of his or her

federal employment. See Ex. 1, Certification re Stephen Miller; Ex. 2, Certification re

Jefferson Sessions; Ex. 3, Certification re Kristjen Nielsen; Ex. 4 Certification re Kevin

McAleenan.




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       6.      The Individual Defendants are named as defendants in only Claim 1 of the

Complaint. Claim 2 is pleaded against the United States only. Compl. ¶¶ 215-239.

       7.      For these reasons, the United States has, by operation of law, been substituted

as the sole defendant with respect to all of Plaintiffs’ claims. The Court is respectfully

referred to the Certifications filed along with this Notice.

                                                               Respectfully submitted,

                                                               VANESSA ROBERTS AVERY
                                                               UNITED STATES ATTORNEY

                                                               /s/ Carolyn A. Ikari

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